                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TENNESSEE
                                   AT KNOXVILLE

UNITED STATES OF AMERICA,                             )
                                                      )
               Plaintiff,                             )
                                                      )
v.                                                    )       No. 3:05-CR-36
                                                      )       (VARLAN/GUYTON)
REGINALD L. HALL, ADVANCED                            )
INTEGRATED MANAGEMENT SERVICES,                       )
INC. (“AIMSI”), and DAVID F. REEDER,                  )
                                                      )
               Defendants.                            )

                               MEMORANDUM AND ORDER

               All pretrial motions in this case have been referred to the undersigned pursuant to 28

U.S.C. § 636(b) for disposition or report and recommendation regarding disposition by the District

Court as may be appropriate.

               Defendants Advanced Integrated Management Services, Inc. (“AIMSI”) and David

F. Reeder move to adopt Defendant Reginald L. Hall’s Objections [Doc. 80] to Magistrate Judge’s

Report and Recommendation to Deny Motions to Dismiss. [Docs. 81, 82]. Defendants AIMSI and

David F. Reeder also seek to adopt Defendant Reginald L. Hall’s reply [Doc. 90] to the

government’s response. [Docs. 91, 92].

               For good cause shown, the motions to adopt [Docs. 81, 82, 91, 92] filed by

Defendants AIMSI and David F. Reeder are GRANTED.

               IT IS SO ORDERED.
                                              ENTER:

                                                    s/ H. Bruce Guyton
                                              United States Magistrate Judge




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